                               CASE 0:21-cr-00108-PAM-TNL Doc. 57 Filed 06/04/21 Page 1 of 1

AO 442 (Rev. I Ul     l)   Arrcst Warrant



F#1127 4272                                    UNtrpo Srarps Drsrrucr CoURT
                                                                        for the                                                         JUN 0   4   2021

                                                                District of Minnesota                                   cLERK,', U.S. DlsrRlcr couRT
                                                                                                                            ST. PAUL, MINNESOTA
                      United States of America
                                  v.                                      )
                                                                                             No.   CR   2 1-1   08 PAI\,{/TNL
                       Derek Michael Chauvin     (l)                      )           Case
                                                                          )
                                                                          )
                                                                          )
                                                                                         RECEIVED
                                                                          )             By U.S. Marshal, St, Paul, MN at 2:15 pm, May 06, 2021
                                   Defendant


                                                              ARREST WARRANT
To:       Any authorized law enforcenent officer

          YOU ARE COMMANDED to arrest and bring before                        a   United States magistrate judge without unnecessary delay
(name of person to be       arrested) Derek Michael Chauvin
who is accused of an offense or violation based on the following document filed with the court:

/   Indictment                       Superseding Indictment            Information Superseding Information                                 Complaint
    Probation Violation Petition                       Supervised Release Violation Petition Violation Notice                              Order of the Court

This offense is briefly described as follows:                                                              Pretrial Release Violation Petition

Count I - Deprivation of Rights Under Color of Law, 18:242 and2; Count 3 - Deprivation of Rights Under Color of Law, 18:242.




Date:    05/0612021
                                                                                                                  oflicer's signature


City and state:            Minneapolis, MN
                                                                                                           Printed name and title


                                                                       Return

          This warrant was received on           @ate)                            , and the person was arrested on          @atu)
at (city and state)



                                                                                                        Arre sting offi cer's s ignature




                                                                                                                                 iuN 0 7 2021
                                                                                                                               DISTHICTCOURTST
